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               EXHIBIT C
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(12) United States Patent                                                         (10) Patent No.:                 US 8,881,833 B2
       Radford et a].                                                             (45) Date of Patent:                      Nov. 11, 2014

(54)    REMOTELY CONTROLLED APPARATUS                                        (56)                    References Cited
        FOR DOWNHOLE APPLICATIONS AND


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                          TX (US); Bruce Stauffer, The            I          EP                   246789 A2       11/1987
                          Woodlands,       (US); Johannes Witte,             EP                1036913 A1         9/2000
                          Braunschwe1 g (DE)                                                           (Continued)
(73) Assignee: Baker Hughes Incorporated, Houston,                                             OTHER PUBLICATIONS
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                              (U )                                           International Preliminary Report on Patentability for International
(*)     Notice:           Subject to any disclaimer, the term of this        Application N°~ PCTMS2010/050933 dated APR 3, 2012, 6 Pages~
                          patent is extended or adjusted under 35                                             -
                          U.S.C. 154(b) by 436 days.                                                   (commued)
                      _                                                      Primary Examiner * Cathleen Hutchins
(21)    Appl' NO" 12/895,233                                                 (74) Attorney, Agent, or Firm * TraskBritt
(22) F1led:               Sep. 30, 2010                                      (57)                     ABSTRACT
(65)                        Prior Publication Data                           An apparatus for use downhole is disclosed that, in one con
                                                                             ?guration includes a downhole tool con?gured to operate in
        Us 2011/0127044 A1    Jun' 2’ 2011                                   an active position and an inactive position and an actuation
              Related US Application Data                                    device, Which may include a control unit. The apparatus
                                                                             includes a telemetry unit that sends a ?rst pattern recognition
(60)    Provisional application No. 61/247,162, ?led on Sep.                 signal to the control unit to move the tool into the active
        30, 2009, Provisional aPP lication No. 61/377,146,                   P osition and a second P attern reco gnition si gnal to move the
        ?led on Aug, 26, 2010,                                               tool into the inactive position. The apparatus may be used for
                                                                             drilling a subterranean formation and include a tubular body
(51)   Int, Cl,                                                              and one or more extendable features, each positionally
       E213 23/00                      (200601)                              coupled to a track of the tubular body, and a drilling ?uid ?oW
       E213 10/32                      (200601)                              path extending through a bore of the tubular body for con
       E213 47/12                      (201201)                              ducting drilling ?uid therethrough. A push sleeve is disposed
       E213 17/10                      (2006 01)                             Within the tubular body and coupled to the one or more
(52)   U 5 Cl                               '                                features. A valve assembly is disposed Within the tubular
          ' '     '                                      _                   body and con?gured to control the ?ow of the drilling ?uid
        CPC ............. .. EZIB 10/322 (2013.01), EZIB 47/12               into an annular Chamber in communication With the push
                               (201301), E213 17/1014 (201301)               sleeve; the valve assembly comprising a mechanically oper
        USPC ......................................... .. 166/382; 175/319   ated Valve and/or an electronically Operated ValVQ Other
(58) Field Of ClaSSi?catiOIl SeaI‘Ch                                         embodiments, including methods of operation, are provided.
        USPC ......................... .. 166/382, 373; 175/217, 319
        See application ?le for complete search history.                                    30 Claims, 15 Drawing Sheets
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                   FIG. 6
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                                 FIG. 14
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      REMOTELY CONTROLLED APPARATUS                                      reductions in the borehole diameter are undesirable because
      FOR DOWNHOLE APPLICATIONS AND                                      they limit the production ?ow rate of oil and gas through the
           METHODS OF OPERATION                                          borehole, it is often desirable to enlarge a subterranean bore
                                                                         hole to provide a larger borehole diameter for installing addi
           CROSS-REFERENCE TO RELATED                                    tional casing beyond previously installed casing as well as to
                  APPLICATIONS                                           enable better production ?ow rates of hydrocarbons through
                                                                         the borehole.
  This application claims the bene?t of US. Provisional                    A variety of approaches have been employed for enlarging
Application Ser. No. 61/247,162, ?led Sep. 30, 2009, entitled            a borehole diameter. One conventional approach used to
“Remotely Activated and Deactivated Expandable Apparatus                 enlarge a subterranean borehole includes using eccentric and
for Earth Boring Applications,” and claims the bene?t ofU.S.             bi-center bits. For example, an eccentric bit with a laterally
Provisional Patent Application Ser. No. 61/377,146, entitled             extended or enlarged cutting portion is rotated about its axis
“Remotely-Controlled Device and Method for Downhole                      to produce an enlarged borehole diameter. A bi-center bit
Actuation” ?led Aug. 26, 2010, the disclosure of each of                 assembly employs two longitudinally superimposed bit sec
which of the foregoing applications is hereby incorporated               tions with laterally offset longitudinal axes, which when the
herein by this reference in its entirety.                                bit is rotated produce an enlarged borehole diameter.
                                                                            Another conventional approach used to enlarge a subterra
                     TECHNICAL FIELD                                     nean borehole includes employing an extended bottom hole
                                                                         assembly with a pilot drill bit at the distal end thereof and a
  Embodiments of the present invention relate generally to          20   reamer assembly some distance above. This arrangement per
remotely controlled apparatus for use in a subterranean bore             mits the use of any standard rotary drill bit type, be it a rock bit
hole and, more particularly, in some embodiments to an                   or a drag bit, as the pilot bit, and the extended nature of the
expandable reamer apparatus for enlarging a subterranean                 assembly permits greater ?exibility when passing through
borehole, to an expandable stabilizer apparatus for stabilizing          tight spots in the borehole as well as the opportunity to effec
a bottom hole assembly during a drilling operation, in other        25   tively stabilize the pilot drill bit so that the pilot hole and the
embodiments to other apparatus for use in a subterranean                 following reamer will traverse the path intended for the bore
borehole, and in still other embodiments to an actuation                 hole. This aspect of an extended bottom hole assembly is
device and system.                                                       particularly signi?cant in directional drilling. One design to
                                                                         this end includes so-called “reamer wings,” which generally
                       BACKGROUND                                   30   comprise a tubular body having a ?shing neck with a threaded
                                                                         connection at the top thereof and a tong die surface at the
  Wellbores, also called boreholes, for hydrocarbon (oil and             bottom thereof, also with a threaded connection. The upper
gas) production, as well as for other purposes, such as, for             midportion of the reamer wing tool includes one or more
example, geothermal energy production, are drilled with a                longitudinally extending blades projecting generally radially
drill string that includes a tubular member (also referred to as    35   outwardly from the tubular body, the outer edges of the blades
a drilling tubular) having a drilling assembly (also referred to         carrying PDC cutting elements.
as the drilling assembly or bottom hole assembly or “BHA”)                 As mentioned above, conventional expandable reamers
which includes a drill bit attached to the bottom end thereof.           may be used to enlarge a subterranean borehole and may
The drill bit is rotated to shear or disintegrate material of the        include blades pivotably or hingedly a?ixed to a tubular body
rock formation to drill the wellbore. The drill string often        40   and actuated by way of a piston disposed therein. In addition,
includes tools or other devices that need to be remotely acti            a conventional borehole opener may be employed comprising
vated and deactivated during drilling operations. Such tools             a body equipped with at least two hole opening arms having
and devices include, among other things, reamers, stabilizers            cutting means that may be moved from a position of rest in the
or force application members used for steering the drill bit,            body to an active position by exposure to pressure of the
Production wells include devices, such as valves, in?ow con         45   drilling ?uid ?owing through the body. The blades in these
trol device, etc., that are remotely controlled. The disclosure          reamers are initially retracted to permit the tool to be run
herein provides a novel apparatus for controlling such and               through the borehole on a drill string and once the tool has
other downhole tools or devices.                                         passed beyond the end of the casing, the blades are extended
   Expandable tools are typically employed in downhole                   so the bore diameter may be increased below the casing.
operations in drilling oil, gas and geothermal wells. For           50      The blades of some conventional expandable reamers have
example, expandable reamers are typically employed for                   been sized to minimize a clearance between themselves and
enlarging a subterranean borehole. Conventionally in drilling            the tubular body in order to prevent any drilling mud and earth
oil, gas, and geothermal wells, a casing string (such term               fragments from becoming lodged in the clearance and bind
broadly including a liner string) is installed and cemented to           ing the blade against the tubular body. The blades of these
prevent the wellbore walls from caving into the subterranean        55   conventional expandable reamers utilize pressure from inside
borehole while providing requisite shoring for subsequent                the tool to apply force radially outward against pistons which
drilling operations to achieve greater depths. Casing is also            move the blades, carrying cutting elements, laterally outward.
conventionally installed to isolate different formations, to             It is felt by some that the nature of some conventional reamers
prevent cross?ow of formation ?uids, and to enable control of            allows misaligned forces to cock and jam the pistons and
formation ?uids and pressure as the borehole is drilled. To         60   blades, preventing the springs from retracting the blades lat
increase the depth of a previously drilled borehole, new cas             erally inward. Also, designs of some conventional expand
ing is laid within and extended below the previous casing.               able reamer assemblies fail to help blade retraction when
While adding additional casing allows a borehole to reach                jammed and pulled upward against the borehole casing. Fur
greater depths, it has the disadvantage of narrowing the bore            thermore, some conventional hydraulically actuated reamers
hole. Narrowing the borehole restricts the diameter of any          65   utilize expensive seals disposed around a very complex
subsequent sections of the well because the drill bit and any            shaped and expensive piston, or blade, carrying cutting ele
further casing must pass through the existing casing. As                 ments. In order to prevent cocking, some conventional ream
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ers are designed having the piston shaped oddly in order to try         for coupling the push sleeve to one or more expandable fea
to avoid the supposed cocking, requiring matching, complex              tures. The push sleeve may further include an upper annular
seal con?gurations. These seals are feared to possibly leak             surface and a lower annular surface, the lower annular surface
after extended usage.                                                   comprising a larger surface area than the upper annular sur
  Notwithstanding the various prior approaches to drill and/            face.
or ream a larger diameter borehole below a smaller diameter                In a further embodiment, an apparatus for use downhole is
borehole, the need exists for improved apparatus and methods            disclosed that in one con?guration includes a downhole tool
for doing so. For instance, bi-center and reamer wing assem             con?gured to move between a ?rst mode and second mode
blies are limited in the sense that the pass through diameter of        which, for some applications, may be further respectively
such tools is nonadjustable and limited by the reaming diam             characterized as an inactive position and an active position.
eter. Furthermore, conventional bi-center and eccentric bits              In yet a further embodiment, an actuation device includes a
may have the tendency to wobble and deviate from the path               housing including an annular chamber con?gured to house a
intended for the borehole. Conventional expandable reaming              ?rst ?uid therein, a piston in the annular chamber con?gured
assemblies, while sometimes more stable than bi-center and              to divide the annular chamber into a ?rst section and a second
eccentric bits, may be subject to damage when passing                   section, the piston being coupled to a biasing member, and a
through a smaller diameter borehole or casing section, may be           control unit con?gured to move the ?rst ?uid from the ?rst
prematurely actuated, and may present di?iculties in removal            section to the second section to supply a second ?uid under
from the borehole after actuation.                                      pressure to a downhole tool to move the tool into the active
                                                                        position and from the second section to the ?rst section to stop
                     BRIEF SUMMARY                                 20   the supply of the second ?uid to the tool to cause the tool to
                                                                        move into the inactive position.
  Various embodiments of the present disclosure are directed               In another embodiment, the apparatus comprises a system
to expandable apparatuses. In one or more embodiments, an               including a telemetry unit that sends a ?rst pattern recognition
expandable apparatus may comprise a tubular body compris                signal to the control unit to move the tool into the active
ing a ?uid passageway extending through an inner bore. A           25   position and a second pattern recognition signal to move the
push sleeve may be disposed within the inner bore of the                tool into the inactive position.
tubular body and may be coupled to one or more expandable
features. The push sleeve may comprise a lower surface in                       BRIEF DESCRIPTION OF THE DRAWINGS
communication with a lower annular chamber. The push
sleeve may be con?gured to move axially responsive to a ?ow        30        FIG. 1 is a side view of an embodiment of an expandable
of drilling ?uid through the ?uid passageway to extend and              apparatus of the disclosure.
retract the one or more expandable features. A valve may be                  FIG. 2 shows a transverse cross-sectional view of the
positioned within the tubular body and con?gured to selec               expandable apparatus as indicated by section line 2-2 in FIG.
tively control the ?ow of a drilling ?uid into the lower annular        1.
chamber.                                                           35        FIG. 3 shows a longitudinal cross-sectional view of the
  In one or more additional embodiments, an expandable                  expandable apparatus shown in FIG. 1.
apparatus may comprise a tubular body and one or more                     FIG. 4 shows an enlarged longitudinal cross-sectional view
expandable features. The one or more expandable features are            of a portion of the expandable apparatus shown in FIG. 3.
con?gured to expand and retract an unlimited number of                       FIG. 5 shows an enlarged cross-sectional view of the same
times. The expandable apparatus may be con?gured as an             40   portion of the expandable apparatus shown in FIG. 4 and with
expandable reamer, an expandable stabilizer, or other                   the blades expanded.
expandable apparatus.                                                     FIG. 6 shows an enlarged cross-sectional view of a valve
  Additional embodiments of the disclosure are directed to              according to at least one embodiment for a mechanically
methods of operating an expandable apparatus. One or more               controlled valve.
embodiments of such methods may comprise ?owing a drill            45     FIG. 7 shows a side view of a valve cylinder according to an
ing ?uid through a ?uid passageway located in a tubular body            embodiment of the valve shown in FIG. 6.
of an expandable apparatus. A force may be exerted on the                 FIG. 8 shows an enlarged cross-sectional view of a valve
push sleeve disposed within the tubularbody su?icient to bias           according to at least one embodiment for an electronically
the push sleeve axially downward and to retract one or more             controlled valve.
expandable features coupled to the push sleeve. A valve            50     FIG. 9 shows a longitudinal cross-sectional view of a fur
coupled to a valve port that extends between the ?uid pas               ther embodiment of the expandable apparatus con?gured to
sageway and a lower annular chamber may be opened and                   employ a trap sleeve and a ?ow restricting element.
drilling ?uid may ?ow into the lower annular chamber in                    FIG. 10 shows an enlarged cross-sectional view of the
communication with a lower surface of the push sleeve. A                lower end of the expandable apparatus of FIG. 9.
force may be exerted by the drilling ?uid on the lower surface     55      FIG. 11 shows a longitudinal cross-sectional view of the
of the push sleeve, moving the push sleeve axially upward and           expandable apparatus of FIG. 9 with a trap sleeve in place.
expanding the one or more expandable features coupled to the               FIG. 12 shows a longitudinal cross-sectional view of the
push sleeve.                                                            expandable apparatus of FIG. 9 with a trap sleeve in place and
  In one or more additional embodiments, a method of oper               a ?ow restriction element retained in the trap sleeve.
ating an expandable apparatus may comprise expanding at            60      FIG. 13 shows a longitudinal cross-sectional view of the
least one expandable feature coupled to a tubular body and              expandable apparatus of FIG. 9 with a trap sleeve and a ?ow
retracting the at least one expandable feature. The foregoing           restriction element released and retained in a screen catcher.
sequence of expanding and retracting can be repeated an                    FIG. 14 is an elevation view of a drilling system including
unlimited number of times.                                              an actuation device, according to an embodiment of the dis
  Still other embodiments of the disclosure comprise push          65   closure.
sleeves employable with an expandable apparatus. In one or                 FIGS. 15A and 15B are sectional side views of an embodi
more embodiments, such push sleeves may comprise means                  ment of a portion of a drill string, a tool and an actuation
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